                      Case 3:19-cv-00549-BAJ-RLB                    Document 5       08/28/19 Page 1 of 2

$2 5HY 6XPPRQVLQD&LYLO$FWLRQ


                                      81,7(' 67$7(6 ',675,&7 &2857
                                                                   IRUWKH
                                                       0LGGOH 'LVWULFW RI /RXLVLDQD
                                                    BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

                     1$,) $/56+'$1
                    +,1', $/4$+7$1,
                 02+$00(' $/+$6+(0
                 DQG20$5 $/6+$+5$1,
                            Plaintiff(s)
                                 Y                                          &LYLO$FWLRQ1R &9-BAJ-RLB
     %2$5' 2) 683(59,6256 2) 6287+(51
      81,9(56,7< $1' $*5,&8/785$/ $1'
            0(&+$1,&$/ &2//(*(

                           Defendant(s)


                                                    6800216,1$&,9,/$&7,21

7R (Defendant’s name and address) 'HPRLQH 5XWOHGJH &KDLUPDQ

                                           %RDUG RI 6XSHUYLVRUV RI 6RXWKHUQ 8QLYHUVLW\
                                           DQG $JULFXOWXUDO DQG 0HFKDQLFDO &ROOHJH

                                           -6 &ODUN $GPLQLVWUDWLRQ %XLOGLQJ
                                           WK )ORRU 3UHVLGHQW¶V 2IILFH %DWRQ 5RXJH /$ 

          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
3 D  RU  ²\RXPXVWVHUYHRQWKHSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQXQGHU5XOHRI
WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
ZKRVHQDPHDQGDGGUHVVDUH
                                           'RPLQLFN 0 %LDQFD
                                           %LDQFD /DZ )LUP
                                            6XPPD $YH
                                           %DWRQ 5RXJH /$ 


       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
<RXDOVRPXVWILOH\RXUDQVZHURUPRWLRQZLWKWKHFRXUW

                                                                                Michael L. McConnell
                                                                               CLERK OF COURT


'DWH        August 28, 2019                                                      S
                                                                                         Signature of Clerk or Deputy Clerk
                        Case 3:19-cv-00549-BAJ-RLB                     Document 5       08/28/19 Page 2 of 2

$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R &9

                                                     3522)2)6(59,&(
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ (date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                 RQ (date)                             RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                  DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ (date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                       ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                 RQ (date)                             RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                               RU

           u 2WKHU (specify):
                                                                                                                                            


           0\IHHVDUH                            IRUWUDYHODQG                  IRUVHUYLFHVIRUDWRWDORI                    


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                             Server’s signature



                                                                                         Printed name and title




                                                                                             Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
